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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                                              CRIMINAL NO. 05-80810
       Plaintiff,                                             HON. LAWRENCE P. ZATKOFF

v.

STEPHANIE BAXTER,


      Defendant.
____________________________________/


                                             ORDER

              AT A SESSION of said Court, held in the United States Courthouse,
               in the City of Port Huron, State of Michigan, on December 5, 2006

                    PRESENT: THE HONORABLE LAWRENCE P. ZATKOFF
                            UNITED STATES DISTRICT JUDGE


       Defendant committed the offenses charged in the instant case while on probation for a state

conviction. For purposes of the sentencing guidelines, the additional two criminal history points she

received placed her in criminal history category II.

       Guideline §4A1.3(c)(2) states that in the case of a downward departure, the court shall

specify in writing “the specific reasons why the applicable criminal history category substantially

over-represents the seriousness of the defendant’s criminal history or the likelihood that the

defendant will commit other crimes.” In July 2003, Defendant was convicted of embezzlement in

Oakland County Circuit Court and sentenced to eighteen months probation. At the conclusion of

the eighteen months, Defendant was financially unable to pay the $900.00 in fines and costs, and

her probation was extended.
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       The extension of Defendant’s probation was for the collection of the fines and costs, and not

for any supervisory purpose. The Court holds that placing Defendant in criminal history category

II because of her financial inability to pay fines and costs would substantially over-represent

Defendant’s criminal history. Thus, Court will remove the two points and place Defendant in

criminal history category I.



       IT IS SO ORDERED.



                                             s/Lawrence P. Zatkoff
                                             LAWRENCE P. ZATKOFF
                                             UNITED STATES DISTRICT JUDGE

Dated: December 5, 2006

                                 CERTIFICATE OF SERVICE

       The undersigned certifies that a copy of this Order was served upon the attorneys of
record by electronic or U.S. mail on December 5, 2006.


                                             s/Marie E. Verlinde
                                             Case Manager
                                             (810) 984-3290




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